         Case 1:19-cv-00017-JCG Document 70             Filed 02/21/19     Page 1 of 3



                UNITED STATES COURT OF INTERNATIONAL TRADE



 ONE WORLD TECHNOLOGIES, INC.,

        Plaintiff,

 v.

 UNITED STATES, UNITED STATES
 DEPARTMENT OF HOMELAND
 SECURITY, UNITED STATES
 CUSTOMS AND BORDER
                                                  Before: Jennifer Choe-Groves, Judge
 PROTECTION, and ACTING
 COMMISSIONER KEVIN K.
                                                  Court No. 19-00017
 MCALEENAN,

        Defendants.

 THE CHAMBERLAIN GROUP, INC.
 AND UNITED STATES
 INTERNATIONAL TRADE
 COMMISSION,

        Defendant-Intervenors.




                     TEMPORARY RESTRAINING ORDER EXTENSION

       On February 11, 2019, the court entered a Temporary Restraining Order (“TRO”), ECF

51. Under CIT Rule 65, the court may extend a TRO for a like period of time “for good cause.”

CIT R. 65(b)(2).

       The court finds good cause to extend the TRO for the following reasons: (1) the factors

considered and discussed by the court in entering the TRO, ECF 51, remain valid at this time;

(2), the Chamberlain Group, Inc. was permitted to intervene and the United States International

Trade Commission was permitted to intervene for the purpose of challenging jurisdiction on
         Case 1:19-cv-00017-JCG Document 70                Filed 02/21/19   Page 2 of 3
Court No. 19-00017                                                                         Page 2


February 15, 2019, ECF 56; and (3) Defendants United States, United States Department of

Homeland Security, United States Customs and Border Protection, and Acting Commission

Kevin K. McAleenan (“Defendants”), filed a motion to dismiss and a motion to strike demand

for jury trial on February 15, 2019. ECF 59. The default time to respond to these motions under

CIT Rule 7 places Plaintiff’s response on March 22, 2019, well after the current expiration of the

TRO. These motions address issues similar to those currently under consideration by the court in

determining whether or not an injunction is warranted. Extending the TRO, pursuant to CIT

Rule 65(b)(2), and expediting responses to the Defendants’ motion, pursuant to CIT Rule 7(d),

will preserve the status quo until the court receives a response to Defendants’ motions. See

Cementos Anahuac Del Golfo, S.A. v. United States, 13 CIT 981, 987, 727 F. Supp. 620, 625

(Ct. Int'l Trade 1989) (finding good cause existed to extend a TRO in order to preserve the status

quo while a party filed an appeal).

        Upon consideration of all papers and proceedings had herein, and upon due deliberation,

it is hereby:

        ORDERED that the Temporary Restraining Order, ECF 51, is extended to March 11,

2019 at 5:30 P.M. Eastern Standard Time; and it is further

        ORDERED that Defendant, including all officials of U.S. Customs and Border

Protection, is hereby enjoined from taking any action to seize the merchandise contained in the

entries at issue in this case, specifically, Entry Nos. 442-75658274, 442-75658266, 442-

75661187, and 442-75661948, and from taking any other action that may affect the disposition

of that merchandise to Plaintiff’s disadvantage; it is further
        Case 1:19-cv-00017-JCG Document 70              Filed 02/21/19    Page 3 of 3
Court No. 19-00017                                                                      Page 3


       ORDERED that responses to the Defendants’ Motion to Dismiss and Motion to Strike

Demand for Jury Trial, and In Response to Plaintiff’s Motion for Preliminary Injunction, ECF

58, are to be filed on or before February 28, 2019 at 12:00 PM Eastern Time.



                                                               /s/ Jennifer Choe-Groves
                                                               Jennifer Choe-Groves, Judge


Dated: February 21, 2019
       New York, New York
